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                     N        UNITED STATES DISTRICT COURT
   THOMA.SDG . BRUTOC O U R T                                      1:22-cr-00528
           ISTRIC T           NORTHERN DISTRICT OF ILLINOIS
CLERK, U.S
                                   EASTERN DIVISION                Judge Jeremy C. Daniel
                                                                   Magistrate Judge Beth W. Jantz
                                                                   RANDOM / Cat. 3
    UNITED STATES OF AMERICA                       No. 22 CR 528

            v.                                     Violation: Title 18, United States
                                                   Code, Sections 2155(a) and (b)
    XUANYU HARRY PANG
                                                   UNDER SEAL


           The ACTING UNITED STATES ATTORNEY charges:

           1.    At times material to this information:

                 a.    Naval Station Great Lakes was an installation of the Armed

   Forces of the United States in Lake County, Illinois. It was home to the United States

   Navy’s Recruit Training Command, which operates Basic Training or “boot camp” for

   the U.S. Navy’s enlisted recruits, and Training Support Center Great Lakes, which

   provides training for sailors in a variety of areas. Naval Station Great Lakes also

   supported the U.S. Navy’s recruitment efforts. Many servicemembers worked and

   resided at Naval Station Great Lakes.

                 b.    Defendant XUANYU HARRY PANG was a United States citizen

   and enlisted sailor serving on active duty and undergoing training in the U.S. Navy.

   PANG was stationed and resided at Naval Station Great Lakes while undergoing

   training.

                 c.    Individual A resided outside the United States.
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      2.     Beginning in or around September 2022, and continuing through

October 2022, at Lake County, in the Northern District of Illinois, Eastern Division,

and elsewhere,

                                XUANYU HARRY PANG,

defendant herein, did knowingly conspire with Individual A to, and did attempt to,

willfully injure and destroy national-defense material, national-defense premises,

and national-defense utilities, namely Naval Station Great Lakes and the material

and premises contained therein, with the intent to injure, interfere with, and obstruct

the national defense of the United States.

                                     Overt Act

      3.     In furtherance of the conspiracy and to achieve the objects and purposes

thereof, PANG and his coconspirator committed and caused to be committed one or

more overt acts within the Northern District of Illinois and elsewhere, including but

not limited to the following:

             a.     On or about October 2, 2022, PANG and Individual A exchanged

messages in which they discussed demanding a payment of $1,000,000 for their

assistance with the plot to attack Naval Station Great Lakes.

      In violation of Title 18, United States Code, Sections 2155(a) and (b).

                                                         Digitally signed by STEVEN
                                      STEVEN DOLLEAR DOLLEAR
                                                       Date: 2024.07.09 16:02:22 -05'00'
                                       ______________________________
                                       Signed by Steven J. Dollear
                                       on behalf of the
                                       ACTING UNITED STATES ATTORNEY




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